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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

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IN RE TERRORIST ATTACKS ON SEPTEMBER 11, 2001   )                      03 MDL No. 1570 (RCC)
________________________________________________)                      ECF Case


This document relates to:

C.A. No. 03-CV-9849 (RCC)
THOMAS E. BURNETT, SR., et al. v. AL BARAKA INVESTMENT & DEVELOPMENT CORP., et al.


                      DECLARATION OF ALAN R. KABAT
                 IN SUPPORT OF DEFENDANT DR. AL-TURKI’S
             MOTION TO DISMISS THE THIRD AMENDED COMPLAINT

       I am an attorney licensed to practice in the District of Columbia and am admitted pro hac

vice in this matter. I am with the law firm of Bernabei & Katz PLLC, counsel to Dr. Abdullah

Bin Abdul Mohsen Al-Turki. I submit this declaration to transmit to the Court the following

documents submitted in support of Dr. Al-Turki’s motion to dismiss (Apr. 8, 2004) and his reply

brief submitted in support of his motion to dismiss (July 30, 2004):

       1.      Exhibit 1 to Dr. Al-Turki’s motion to dismiss is a copy of the Declaration of Dr.

Abdullah Bin Abdul Mohsen Al-Turki (March 31, 2004), and authenticated translation, with the

Declaration of Bassim Alim (April 4, 2004) thereto.

       2.      Exhibit 2 to Dr. Al-Turki’s motion to dismiss is a copy of the Declaration of

Abdulaziz H. Al Fahad (April 6, 2003).

       3.      Exhibit 3 to Dr. Al-Turki’s motion to dismiss is a copy of P. Mendenhall,

“Seeking bin Laden in the Classifieds,” MSNBC, online at http://www.msnbc.msn.com/id

/3340393 (Oct. 24, 2003).

       4.      Exhibit 1 to Dr. Al-Turki’s reply brief is a copy of excerpts from the Civil Code
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of Spain, §§ 1261-79 (Spanish law) (J. Romanach transl., 1994).

       5.     Exhibit 2 to Dr. Al-Turki’s reply brief is a copy of excerpts of the transcript of the

Motions Hearing held on June 24, 2003, before Judge Robertson, in Burnett, et al. v. Al Baraka

Invest. & Devel. Corp., et al., No. 02-CV-1616 (JR) (D.D.C.).

       6.     Exhibit 3 to Dr. Al-Turki’s reply brief is a copy of U.S. Department of the

Treasury, “Treasury Department Statement on the Designation of Wa’el Hamza Julidan,” online

at http://www.treas.gov/press/releases/po3397.htm (Sept. 6, 2002).

       7.     Exhibit 4 to Dr. Al-Turki’s reply brief is a copy of U.S. Department of the

Treasury, “Treasury Department Releases List of 39 Additional Specially Designated Global

Terrorists,” online at http://www.treas.gov/press/releases/po689.htm (Oct. 12, 2001).

       I declare under the penalties of perjury that the foregoing is true and correct to the best of

my knowledge and belief. Executed on July 30, 2004.




                                              /s/ Alan R. Kabat
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                                              ALAN R. KABAT




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